                 Case 8:20-cv-00048-JVS-JDE     Document 2399 Filed 12/16/24      Page 1 of 4 Page ID
                                                     #:197698

             1      MARK D. SELWYN, SBN 244180
                     mark.selwyn@wilmerhale.com
             2      THOMAS G. SPRANKLING, SBN 294831
                      thomas.sprankling@wilmerhale.com
             3      WILMER CUTLER PICKERING
                     HALE AND DORR LLP
             4      2600 El Camino Real, Suite 400
                    Palo Alto, CA 94306
             5      Tel.: 650.858.6000 / Fax: 650.858.6100
             6      JOSHUA H. LERNER, SBN 220755
                      joshua.lerner@wilmerhale.com
             7      WILMER CUTLER PICKERING
                     HALE AND DORR LLP
             8      One Front Street, Suite 3500
                    San Francisco, CA 94111
             9      Tel.: 628.235.1000 / Fax: 628.235.1001
           10       AMY K. WIGMORE, pro hac vice
                     amy.wigmore@wilmerhale.com
           11       WILMER CUTLER PICKERING
                      HALE AND DORR LLP
           12       2100 Pennsylvania Ave NW
                    Washington, DC 20037
           13       Tel.: 202.663.6000 / Fax: 202.663.6363
           14       [Counsel appearances continue on next page]
           15       Attorneys for Defendant Apple Inc.
           16                           UNITED STATES DISTRICT COURT
                                   FOR THE CENTRAL DISTRICT OF CALIFORNIA
           17                                SOUTHERN DIVISION
           18       MASIMO CORPORATION,                           CASE NO. 8:20-cv-00048-JVS (JDEx)
                    a Delaware corporation; and
           19       CERCACOR LABORATORIES, INC.,                  APPLE’S NOTICE OF LODGING OF
                    a Delaware corporation,                       TRIAL DEMONSTRATIVES
           20
                                       Plaintiffs,
           21                                                     Hon. Judge James V. Selna
                          v.
           22
                    APPLE INC.,
           23       a California corporation,
           24                          Defendant.
           25
           26
           27
           28       APPLE’S NOTICE OF LODGING
                                                                           CASE NO. 8:20-cv-00048-JVS (JDEX)
Wilmer Cutler
Pickering Hale
and Dorr LLP
                 Case 8:20-cv-00048-JVS-JDE     Document 2399 Filed 12/16/24   Page 2 of 4 Page ID
                                                     #:197699

             1      JOSEPH J. MUELLER, pro hac vice
             2       joseph.mueller@wilmerhale.com
                    SARAH R. FRAZIER, pro hac vice
             3       sarah.frazier@wilmerhale.com
                    WILMER CUTLER PICKERING
             4        HALE AND DORR LLP
                    60 State Street
             5      Boston, MA 02109
                    Tel.: 617.526.6000 / Fax: 617.526.5000
             6
                    NORA Q.E. PASSAMANECK, pro hac vice
             7       nora.passamaneck@wilmerhale.com
                    WILMER CUTLER PICKERING
             8       HALE AND DORR LLP
                    1225 Seventeenth Street, Suite 2600
             9      Denver, CO 80202
                    Tel.: 720.274.3152 / Fax: 720.273.3133
           10
                    BRIAN A. ROSENTHAL, pro hac vice
           11        brosenthal@gibsondunn.com
                    GIBSON, DUNN & CRUTCHER LLP
           12       200 Park Avenue
                    New York, NY 10166-0193
           13       Tel.: 212.351.2339 / Fax: 212.817.9539
           14       KENNETH G. PARKER, SBN 182911
                     ken.parker@haynesboone.com
           15       HAYNES AND BOONE, LLP
                    660 Anton Boulevard, Suite 700
           16       Costa Mesa, CA 92626
                    Tel.: 650.949.3014 / Fax: 949.202.3001
           17
           18
           19
           20
           21
           22
           23
           24
           25
           26
           27
           28       APPLE’S NOTICE OF LODGING
                                                                        CASE NO. 8:20-cv-00048-JVS (JDEX)
Wilmer Cutler
Pickering Hale
and Dorr LLP
                 Case 8:20-cv-00048-JVS-JDE    Document 2399 Filed 12/16/24       Page 3 of 4 Page ID
                                                    #:197700

             1            Defendant Apple Inc. hereby lodges its trial demonstratives for the witnesses
             2      listed below.
             3       Attachment     Description
             4
                     1              Opening Demonstratives
             5
                     2              Direct Demonstratives of Ueyn Block
             6
                     3              Direct Demonstratives of Brian Land
             7
                     4              Direct Demonstratives of Majid Sarrafzadeh
             8
                     5              Redirect Demonstratives of Majid Sarrafzadeh
             9
                     6              Direct Demonstratives of Steve Warren
           10
                     7              Redirect Demonstratives of Steve Warren
           11
                     8              Direct Demonstratives of Shirley Webster
           12
                     9              Cross Demonstratives of David Dalke
           13
                     10             Cross Demonstratives of Mohamed Diab
           14
                     11             Cross Demonstratives of Joe Kiani
           15
                     12             Cross Demonstratives of Vijay Madisetti
           16
                     13             Cross Demonstratives of Jeroen Poeze
           17
           18
           19
           20
           21
           22
           23
           24
           25
           26
           27
           28       APPLE’S NOTICE OF LODGING OF TRIAL DEMONSTRATIVES

Wilmer Cutler
                                                          1                CASE NO. 8:20-cv-00048-JVS (JDEX)
Pickering Hale
and Dorr LLP
                 Case 8:20-cv-00048-JVS-JDE    Document 2399 Filed 12/16/24     Page 4 of 4 Page ID
                                                    #:197701

             1
             2      Dated: December 16, 2024              Respectfully submitted,
             3
             4                                            /s/ Mark D. Selwyn
                                                          MARK D. SELWYN
             5                                            JOSEPH J. MUELLER
             6                                            AMY K. WIGMORE
                                                          JOSHUA H. LERNER
             7                                            SARAH R. FRAZIER
             8                                            NORA Q.E. PASSAMANECK
                                                          THOMAS G. SPRANKLING
             9                                            WILMER CUTLER PICKERING HALE AND
           10                                             DORR LLP
           11                                             BRIAN A. ROSENTHAL
           12                                             GIBSON, DUNN & CRUTCHER LLP
           13
                                                          KENNETH G. PARKER
           14                                             HAYNES AND BOONE, LLP
           15
                                                          Attorneys for Defendant Apple Inc.
           16
           17
           18
           19
           20
           21
           22
           23
           24
           25
           26
           27
           28       APPLE’S NOTICE OF LODGING OF TRIAL DEMONSTRATIVES

Wilmer Cutler
                                                          2              CASE NO. 8:20-cv-00048-JVS (JDEX)
Pickering Hale
and Dorr LLP
